The Honorable Roy D. Blunt Missouri Secretary of State State Capitol Building Jefferson City, Missouri 65101
Dear Secretary Blunt:
You have submitted to us a statement of purpose prepared pursuant to Section 116.334, RSMo 1986. The statement which you have submitted is as follows:
              Shall the statutes of Missouri be amended to increase the inspection fee for malt liquor and nonintoxicating beer from 5.9 cents to 24 cents per gallon with twenty percent of the fee credited to the housing trust fund, twenty percent to the utilicare program, twenty percent to the emergency financial assistance program and forty percent to the general revenue fund; to establish minimum annual appropriations for the utilicare and emergency financial assistance programs; and to repeal the restriction that state general revenue funds not be used to pay more than one-half of the costs of the emergency financial assistance program?
See our Opinion Letter No. 149-91.
We approve the legal content and form of the proposed statement. Under the provisions of Section 116.334, the approved statement of purpose, unless altered by a court, is the petition title for the measure circulated by the petition and the ballot title if the measure is placed on the ballot.
Very truly yours,
                                  WILLIAM L. WEBSTER Attorney General